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WELTMAN# 040125170

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 

In Re:
Cesar Medina and Case No. 17-05276-LT7
Krystal Anne Medina
Debtors, Chapter 7
Krystal Anne Medina Adv. No. 19-90065-LT
Plaintiff,
V.

National Collegiate Student Loan Trust 2006-3,

Defendant,
/

AFFIDAVIT OF BRADLEY LUKE

STATE OF GEORGIA

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COUNTY OF GWINNETT
PERSONALLY APPEARED before me, the undersigned Bradley Luke, who being duly
sworn according to law, deposes and says on oath as follows:
1. My name is Bradley Luke. I am over eighteen (18) years of age and am
competent to testify to the contents of this Affidavit based upon my personal knowledge of the
facts and circumstances set forth herein. I am employed by Transworld Systems Inc. as the

Director of Operations. In my capacity as Director of Operations, I am duly authorized by

 
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National Collegiate Student Loan Trust 2006-3 (NCSLT) to make the representations contained
in this Affidavit.

2. TSI has been contracted to perform the duties of Subservicer for NCSLT by U.S
Bank, the Successor Special Servicer for NCSLT. TSI, as the Subservicer of NCSLT, is the
designated Custodian of Records for NCSLT. As Director of Operations for TSI, 1 have
personal knowledge pertaining to the manner in which records relating to the Plaintiff Krystal
Amne Medina’s aka Krystal A. Shirley’s (“Plaintiff”) student loan, Account No. xxxxxxxxx/001-
PHEA (the “Loan”) was kept by NCSLT and TSI, including, but not necessarily limited to,
payments, credits, interest accrual and any other transactions that could impact Plaintiff's Loan.
I have personal knowledge as to how NCSLT’s records related to Plaintiffs’ Loan were created
and I am familiar with NCSLT’s record keeping systems.

3, Further, I have access to and training on the system of record utilized by TSI and
American Education Services (AES) to enter and maintain loan account records and
documentation concerning Plaintiffs’ Loan with NCSLT.

4. I am familiar with the process by which TSI receives prior account records,
including origination records from the time the Loan was requested and/or disbursed to Plaintiff.

5. As custodian of records, it is TSI’s regularly-conducted business practice to
incorporate prior loan records and/or documentation into TSI’s business records.

6, These student loan records are created, compiled and recorded as part of regularly
conducted business activity at or near the time of the event and from information transmitted
from a person with personal knowledge of said event and a business duty to report it, or from

information transmitted by a person with personal knowledge of the accounts or events described

 
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within the business record. Such records are created, kept, maintained, and relied upon in the
course of ordinary and regularly conducted business activity.

7. I am further competent and authorized to testify regarding Plaintiffs’ Loan
through personal knowledge of NCSLT and TSI’s business records, including any electronic data
provided to TSI and incorporated within TSI’s business records that detail Plaintiffs’ Loan, and

‘the business records attached to this Affidavit.

8. TSI maintains Plaintiffs’ Loan records in its ordinary course of business.

9. I have personally reviewed NCSLT’s business records relating to Plaintiffs’ Loan
and I am familiar with Plaintiffs’ Loan at issue in this action. NCSLT’s books and records
contain loan records and information for Plaintiffs’ Loan provided to Plaintiffs by the Original
Lender referenced below or its assignee. The Exhibits attached to this Affidavit are true and
accurate copies, which were kept in the ordinary course of business and reflect Plaintiffs’
NCSLT Loan at issue in this action.

10. The business records furnished by NCSLT show that on June 12, 2006, the
Plaintiff executed a Student Loan, Account No. xxxxxxxxx-801-PHEA with JP Morgan Chase
Bank N.A. (“JPMorgan”) as evidenced by the Note Disclosure Statement and Non-Negotiable
Credit Agreement (“Loan”), true and correct copies of which are attached hereto as Exhibits A
and A-1.

11. The Loan was made to fund Plaintiff's tuition and cost of attendance to attend the
San Diego Culinary Institute for the Academic Period of September 2006 through May 2007 in
the amount of $33,149.17. See Exhibits A and A-1. The Loan proceeds were disbursed on or

about June 20, 2006. See Ex. A.

 
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12. The Loan is an educational loan. See Exhibit A-1, p.1 and §L.12; See also Ex. B,
p. 26, Exhibit A, Basic Program Design (Describing the Bank One Continuing Education Loan
as a “fully credit-tested education loan.”)

13. The Loan was made under the Education One© Education One Continuing
Education Loan Program. See Ex. A-1, p.1.

14. The Loan is subject to the terms and conditions in Exhibit A-1. TSI maintains
true and correct copies of all applicable terms and conditions, and the terms and conditions
attached in Exhibit A-1 are the true and correct terms and conditions for the Loan.

15. | TSI, as custodian of records for NCSLT, is the holder of the original Loan signed
by the Plaintiff.

16. | When executing the Loan, Plaintiff certified “I understand and agree that this loan
is an education loan and certify that is will be used only for costs of attendance at the School. I
acknowledge that the requested loan is subject to the limitations on dischargeability in
bankruptcy contained in Section 523(a)(8) of the United States Bankruptcy Code because either
or both of the following apply: (a) this loan was made pursuant to a program funded in whole-or
in part by The Education Resources Institute, Inc. (“TERI”), a non-profit institution, or (b) this is
a qualified education loan as defined in the Internal Revenue Code. This means that if, in the
event of bankruptcy, my other debts are discharged, I will probably still have to pay this loan in
full.” See Ex. A-1, 91 12.

17. A te and correct copy of the Loan-Financial Activity pages from the pre-default
servicer American Education System’s (AES”) system of record, Compass, which is accessible

to TSI as the post-default servicer of NCSLT loans is attached as Exhibit A-2.

 

 

 

 

 
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18. A true and correct copy of the post-default Loan Payment History Report is
attached as Exhibit A-3 and shows that as of July 19, 2019, Plaintiff owes NCSLT the sum of
$27,735.09 for principal and accrued interest. Plaintiffs last payment on the loan was December
28, 2017.

19. TERI was a non-profit corporation. See Exhibit A-1, 7 L. 12; Exhibit B, p. 1, 71;
Exhibit E p.5, 7 1; Exhibit F, p. 1, 4] 1.

20. TERI guaranteed all Loans made through the Education One© Education One
Continuing Education Loan Program. A true and correct copy of the Guaranty Agreement
between The Education Resources Institute, Inc. and Bank One, N.A. is attached as Exhibit B.

21. The effective date of the Guaranty was May 13, 2002. See Exhibit B, ] 1 and
Sec. 1.3.

22. JPMorgan is the successor by merger to Bank One, N.A as of November 13,
2004. See Exhibit E, Schedules B, C & D; See also Exhibit G.

23. JPMorgan continued to originate loans under the Education One© Loan Programs
after the merger with Bank One, N.A. See Exhibit A-1, Plaintiffs Lean.

94. TERI’s Guaranty of the Education One© Loan Programs remained in full force
and effect after the merger because the Guaranty related to the Loan Programs, not to Bank One,
N.A. See Exhibit B, Sections 1.6 and 2.1.

25. Plaintiff's Student Loan was made under The Education One Continuing
Education Loan Program, one of the programs in the Education Qne© Loan Program. See Ex.
A-1, p.1, upper left-hand corner; See also Ex. B and its Exhibit A “Basic Program Design’; See

also Ex. D, Schedule A.

 

 

 
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26. TERI guaranteed that it would purchase Program loans upon default. See Exhibit
B, Sections 1.6 and 2.1.

27. TERI, JPMorgan, successor by merger to Bank One, and the Program Manager
approved the schools participating in the Loan Program in its sole discretion in conjunction with
First Marbichead Corporation. See Ex. B, its Exhibit A, Sec 2. “Participating Schools” & See Ex.
B, its Schedule D to its Exhibit A, “Participating Schools.” See Ex. B, its Exhibit A, Section 2
defining “Program Manager” as The First Marblehead Corporation.

28. TERI was paid a guaranty fee from the individual student loans in the Loan
Program. See; Ex. B, its Schedule 3.3.

29. The business records furnished by NCSLT show that on or about September 28,
2006, after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan,
JPMorgan, First Marblehead Corporation (“FMC”) and National Collegiate Funding LLC
(“NCF”) entered into a Pool Supplement wherein JPMorgan sold certain student loans to NCF
along with its rights under the guaranty agreement with TERI. A true and correct copy of the
Pool Supplement is attached hereto as Exhibit C. TERPs Guaranty was assigned to NCF, See
Ex. C, p. 1, Article 1 & p. 3, Article 5,

30. The business records furnished by NCSLT show that on or about September 28,
2006, after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan, NCF
and NCSLT entered into a Deposit and Sale Agreement, wherem NCF sold the loans to National
Collegiate Student Loan Trust 2006-3, and transferred all of its rights and interests under the
Pool Agreement to NCSLT. A true and correct copy of the Deposit and Sale Agreement is

attached hereto as Exhibit D. The transfer of rights and interests included NCF’s ri ghts under the
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Guaranty Agreement with TERI. See Ex. D, Section 3.02. The sale included all loans in
Plaintiff's Loan Program, the Education One Loan Program. See Ex. D, Schedule A.

31. The business records furnished by NCSLT show that on or about September 28,
2006, after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan,
Wilmington Trust Company, NCF and TERI entered into a Trust Agreement. A true and correct
copy of the Trust Agreement is attached hereto as Exhibit E. The Trust was set up primarily to
acquire, house and service the loans. See Ex. E, Sec. 2.03. TERI’s obligation to purchase
defaulted loans is recited. See Ex. E, Sec. 1.01 (“TERI Guaranty Agreements” and “TERI
Guaranteed Loans”).

32. The business records furnished by NCSLT show that on or about September 28,
2006, after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan,
TERL, First Marblehead Data Services, Inc. and National Collegiate Student Loan Trust 2006-3
entered into a Deposit and Security Agreement. A true and correct copy of the Deposit and
Security Agreement is attached hereto as Exhibit F. Under the Agreement, NCSLT agrees to
purchase all loans in the Education One Loan Programs on the condition, in part, that TERI

guarantees the loans. See Ex. F, p.1, 2 and its Schedules A & B.

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33. The Loan has not since been transferred or sold, and all right, title and interest

remains with National Collegiate Student Loan Trust 2006-3.

 

SWORN TO AND SUBSCRIBED BEFORE ME

|

ON THIS TF DAY.

  

NOTARY PUBLIC

 

My Commission Expires: /% L f af BORE

 
